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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI


MICHAEL COREY JENKINS,                               )
                                                     )
EDDIE TERRELL PARKER                                 )
                                                     )
      PLAINTIFFS,                                    )
                                                     )
v.                                                   )    CASE NO.
                                                     )           3:23-cv-374-DPJ-FKB
                                                     )
RANKIN COUNTY, MISSISSIPPI                           )
                                                     )
RANKIN CO. SHERIFF BRYAN BAILEY                      )
                                                      )
      Individually, and in his official capacity     )
                                                     )
RANKIN CO. DEPUTY HUNTER ELWARD                      )
                                                     )
      Individually, and in his official capacity     )
                                                     )
RANKIN CO. DEPUTY BRETT MC’ALPIN                     )
                                                     )
      Individually, and in his official capacity     )
                                                     )
RANKIN CO. DEPUTY CHRISTIAN DEDMON                   )
                                                     )
      Individually, and in his official capacity     )
                                                     )
                                                     )
JOHN DOE DEPUTIES 1-3                                )
                                                     )
Individually, and in their official capacity         )


       DEFENDANTS,




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                          COMPLAINT FOR CIVIL DAMAGES



Comes now, MICHAEL COREY JENKINS and EDDIE TERRELL PARKER, residents of

RANKIN COUNTY, Mississippi, by way of counsel, and hereby formally file suit against

RANKIN COUNTY, Mississippi SHERIFF BRYAN BAILEY, DEPUTIES HUNTER

ELWARD, CHRISTIAN DEDMON, BRETT MC’ALPINE and others for their tortious

violations of Mississippi civil statutes, and under the color of law, multiple violations of the

United States Constitution. The nearly two-hour ordeal described in this Complaint is one of the

worst and most bizarre incidents of police misconduct in United States history. The egregious

conduct described in this Complaint is torturous and hateful. The acts described herein,

committed under the color of law, set the standard of what is wrong with policing today in

America.



                               JURISDICTION AND VENUE

1. This Court has concurrent jurisdiction over the federal constitutional claims and the

    Mississippi civil claims in this matter pursuant to 42 U.S.C. § 1983; 42 U.S.C. § 1981; 28

    U.S.C. § 1331; and 28 U.S.C. § 1367.



                                    NOTICE OF CLAIM

2. In correspondence dated February 16, 2023, the Plaintiffs caused to be filed and delivered

    on the date of February 22, 2023, via registered mail to RANKIN COUNTY, Mississippi,

    c/o RANKIN COUNTY Chancery Clerk Larry Swales, 211 East Government Street, Suite




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    D, Brandon, MS 39042. Plaintiff’s Notice of Claim letter contained the acts and claims set

    forth herein, pursuant to Miss. Code Ann.§11-46-11, 42 U.S.C.§1983, 42 U.S.C.§1981, and

    any and all other applicable state or federal statute(s) or constitutional provision(s), or any

    applicable state or federal common law cause(s) of action. The Plaintiffs delivered a 2nd

    Notice of Claim to RANKIN COUNTY on April 19, 2023, to Sheriff Bryan Bailey and the

    Rankin County Attorney, via certified mail. Plaintiffs submit that Defendants have been on

    formal notice for at least 116 days prior to filing the instant. Defendants have also received

    constructive notice of this high-profile public incident since the date of its occurrence on

    January 24, 2023.



                                           PARTIES

3. MICHAEL COREY JENKINS, at all times relevant herein, was a 32-year old African -

    American resident of RANKIN COUNTY, Mississippi. MICHAEL JENKINS, at the time

    of this occurrence, was of slight build, weighed approximately 155 pounds, and stood 5 foot

    9 inches tall. Eddie Parker stood 5 foot 10 inches and weighed about 170 pounds.

4. EDDIE TERRELL PARKER, at all times relevant herein, was a 35-year-old African

    American resident of RANKIN COUNTY, Mississippi.

5. Defendant HUNTER ELWARD, upon information and belief, is an adult resident citizen of

    RANKIN COUNTY, Mississippi, who may be served with process where found and is

    hereby sued in individual and his official capacity.

6. Defendant CHRISTIAN DEDMON, upon information and belief, is an adult resident citizen

    of RANKIN COUNTY, Mississippi, who may be served with process where found and is

    hereby sued in individual and his official capacity.




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7. Defendant BRETT MC’ALPIN, upon information and belief, is an adult resident citizen of

    RANKIN COUNTY, Mississippi, who may be served with process where found is hereby

    sued in individual and his official capacity.

8. Defendant RANKIN COUNTY is a governmental entity organized and existing under and

    by virtue of the laws of the State of Mississippi. RANKIN COUNTY, Mississippi, is subject

    to suit pursuant to Miss. Code Ann. § 11-46-5 and 11-46-7.

9. Defendant SHERIFF BRYAN BAILEY, at all times relevant herein, was the Sheriff of the

    RANKIN COUNTY Sheriff's Department with supervisory control over RANKIN

    COUNTY deputies. SHERIFF BAILEY is hereby sued in individual capacity as supervisor

    of RANKIN COUNTY SHERIFF'S DEPT., and in his official capacity.

10. Defendant RANKIN COUNTY, MISSISSIPPI, is a governmental entity organized and existing under

    and by virtue of the laws of the State of Mississippi. RANKIN COUNTY, Mississippi, is subject to suit

    pursuant to Miss. Code Ann. § 11-46-5 and 11-46-7 and may be served with process through the

    president or clerk of the board of supervisors at 211 E Government St A, Brandon, MS 39042.

    RANKIN CO. is vicariously liable for the acts its employees committed in the course and scope of their

    employment.

11. DEPUTIES, JOHN DOE DEFENDANTS 1-3 are RANKIN COUNTY Deputies who directly

    participated in the acts described herein but whose identities are unknown to the Plaintiffs at the filing

    of this Complaint but who are liable for the acts or omissions committed resulting in the subject incident

    herein and against whom Plaintiffs will seek recovery of damages.


                                        STATEMENT OF FACTS


12. All events described herein, in reference to Plaintiffs, occurred in Braxton, Mississippi,



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    which is in Rankin County, Mississippi.

13.On the night of January 24, 2023, between 9:30 and 10:00 p.m., six White RANKIN

    COUNTY Sheriff’s deputies illegally raided the private residence where EDDIE TERRELL

    PARKER and MICHAEL COREY JENKINS were lawfully residing . The deputies forcibly

    entered the residence, and they did not possess a valid search warrant.

14.According to eyewitnesses, the identity of these six officers included; RANKIN CO. Miss.

    Deputy BRETT MC’ALPIN, RANKIN CO. Miss. Deputy CHRISTIAN DEDMON, and

    RANKIN COUNTY Mississippi Deputy HUNTER ELWARD.

15.RANKIN COUNTY, Mississippi, is 73.5% White, 21% Black, according to 2019 data.

    MICHAEL JENKINS and EDDIE PARKER were allegedly the only two Black males

    residing within a two-mile area of the location of this occurrence.

16. The Rankin County Deputies would intentionally de-activate their body camera equipment

    prior to this ordeal, and upon its conclusion, the six Rankin County Deputies involved would

    steal from the property in question video computer equipment that recorded a critical portion

    of this ordeal. Rankin County has possession of such stolen equipment.



                        Warrantless Entry, Kidnapping, and Racial Bias

17.Defendants ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3 forced

    their entry into the premises from several entry points without a warrant. The six deputies

    promptly subdued and handcuffed both JENKINS and PARKER.

18.No reasonable suspicion or probable cause existed for the Defendants actions. No cause for

    warrantless entry into the premises existed.




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19. At this point, nor at any point, did either victim ever resist, run away from, or oppose the

    deputies in any way. Throughout this nearly two-hour occurrence, MICHAEL JENKINS and

    EDDIE PARKER would completely comply with law enforcement.

20.While under the Defendants' custody, MICHAEL JENKINS and EDDIE PARKER were

    repeatedly and directly called “niggers” and “monkeys” and other specific racial slurs by

    these White officers.

21.Upon entry, RANKIN COUNTY deputies, including deputies ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE’S 1-3, also accused the African-American men of

    “dating White women” and having committed other racial violations. Deputies intentionally

    and freely used random racial epithets during all actions described herein over the course of

    nearly two hours.

22.All six RANKIN COUNTY deputies maintained complete control of both victims for the

    entirety of this nearly two-hour occurrence.

23.Without lawful cause or justification, in this severe event of police brutality, RANKIN

    COUNTY deputies, including deputies ELWARD, MC’ALPIN, DEDMON, and

    DEPUTIES JOHN DOE’S 1-3, began punching and slapping their handcuffed African-

    American victims.

24.Throughout the nearly two-hour ordeal, the six deputies would punch and beat two

    handcuffed men at will, hurting and humiliating both Jenkins and Parker. Deputies also

    repeatedly and gratuitously kicked the men as if they were animals while they lay subdued

    and handcuffed.

25.At all times relevant, these acts occurred under the supervision of SHERIFF BRYAN

    BAILEY, Sheriff of RANKIN COUNTY.




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                                    Taser use while Handcuffed.

26.In an escalation of their use of excessive force, deputies ELWARD, MC’ALPIN, DEDMON,

    and DEPUTIES JOHN DOE’S 1-3 began firing tasers on the handcuffed Michael Jenkins

    Eddie Parker. The tasing included multiple drive-stuns into the bodies of both PARKER and

    JENKINS.

27.Throughout the course of this nearly two-hour use of force event, deputies from Defendant

    RANKIN COUNTY, deputies under the supervision of SHERIFF BRYAN BAILEY, would

    engage in a sadistic contest with each other as to which Taser would be most effective when

    fired against these two victims. Deputies are believed to have fired their Tasers 20-30 times

    on both victims. No cause existed for using this unconstitutional force against the victims by

    the deputies.

28.JENKINS and PARKER never offered any resistance whatsoever that would justify initially,

    or at any point, being repeatedly tased while handcuffed by RANKIN COUNTY deputies.

    Heavily redacted Taser reports received from Defendant RANKIN COUNTY verify the

    timeline of this incident and support these allegations.

29.At all times relevant, Defendant's acts of tasing JENKINS and PARKER, while handcuffed,

    occurred under the supervision of SHERIFF BRYAN BAILEY and RANKIN CO. During

    these acts, deputies used vicious racial slurs such as "nigger" and "monkey" against

    JENKINS and PARKER.



                                       Waterboarding Acts




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30.During this prolonged, nearly two-hour torture session, with both men in complete custody

    and control, MICHAEL C. JENKINS and EDDIE PARKER were also subject to

    waterboarding techniques by Defendants ELWARD, MC’ALPIN, DEDMON, and

    DEPUTIES JOHN DOE’S 1-3. Deputies tried to coerce the JENKINS and PARKER,

    ostensibly to illicit a confession from the men in their custody.

31.Waterboarding, or "water torture," is a brutal practice whereby an interrogator uses

    techniques to convince the person in his custody to believe they are drowning. It is a

    paradigmatic torture technique that has long been considered a war crime, and the United

    States has prosecuted enemy soldiers — and even U.S. troops — for engaging in the practice.

32.Although this barbaric practice has been uniformly renounced by the United States and other

    nations committed to human dignity and the rule of law, the technique has reportedly been

    used against terror suspects in C.I.A. custody in so-called "black site" prisons. (Source:

    American Civil Liberties Union).

33.The items used to conduct the deputies’ waterboarding acts were a variety of liquids obtained

    from the premises.

34.Rankin deputies waterboaded JENKINS and PARKER by continuously pouring the liquids

    on their faces while both men were handcuffed men and forced on their backs.

35.At all times relevant, these acts of torture and humiliation occurred while deputies were under

    the supervision of SHERIFF BRYAN BAILEY, RANKIN COUNTY. During these acts,

    deputies used vicious racial slurs such as "nigger" and "monkey" against JENKINS and

    PARKER.

                                 Sexual Assault and Humiliation




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36. RANKIN COUNTY deputies ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN

    DOE’S 1-3, or a combination thereof, attempted to use a dildo or sexual device against Mr.

    Jenkins and Mr. Parker in the course of this torture session on January 24, 2023.

37.Photographic evidence confirms that a dildo or sexual device was used by deputies at the

    crime scene.

38.Both victims, JENKINS and PARKER, allege and have informed the Mississippi Bureau of

    Investigation M.B.I. that RANKIN COUNTY deputies possessed the dildo and they were

    attempting to use the sexual device on both of them.

39.JENKINS and PARKER were sitting on the couch with their hands cuffed behind their backs

    and surrounded by Defendants ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN

    DOE’S 1-3.

40.Deputies attempted to put the dildo (sexual device) in the mouths of both JENKINS and

    PARKER, but they were unsuccessful.

41.Deputies then turned MICHAEL JENKINS on his stomach in an attempt to use the sexual

    device (dildo) on JENKINS from the rear but discovered that JENKINS had defecated on

    himself. Deputies laughed and mocked JENKINS at this point.

42.JENKINS and PARKER allege that but for JENKINS defecating on himself, the sexual

    device (dildo) would have been inserted in his anal cavities by the Rankin deputies.

43.These shocking, sick, and sadistic attempted sexual assaults were designed to harm and

    humiliate JENKINS and PARKER.

44.On top of this outrage, in this period, the six Rankin Defendants ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE’S 1-3, in a very juvenile and bizarre manner, hurled

    eggs at the handcuffed men. The eggs hurled by Defendants at JENKINS and PARKER left




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    residue and visible markings all over the walls and eggshells on the floor of the house

    deputies had illegally raided.

45.In an effort to sanitize their acts, in the middle of this torture ordeal, RANKIN COUNTY

    deputies, including those individually named deputies, ELWARD, MC’ALPIN, DEDMON,

    and DEPUTIES JOHN DOE’S 1-3, ordered both African-American men to strip naked and

    shower together.

46.Incredibly, both African-American citizens, JENKINS and PARKER, were forced by

    deputies to shower naked together in the same shower stall.

47. JENKINS and PARKER were forced to shower together naked by Defendants ELWARD,

    MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-3, or they would face violent

    punishment by the six White deputies.

48. RANKIN COUNTY deputies Forcing JENKINS and PARKER to shower together was

    designed to humiliate and intimidate them and also to conceal evidence of the eggs being

    hurled and the Plaintiff’s defecating on themselves after the attempted sexual assault against

    them.

49.At all times relevant, these acts of sexual assault occurred while deputies were under the

    supervision of SHERIFF BRYAN BAILEY and RANKIN COUNTY. During these acts,

    deputies used vicious racial slurs such as "nigger" and "monkey” against JENKINS and

    PARKER.

                                            Threats to Kill

50.During this prolonged kidnapping of JENKINS and PARKER, RANKIN COUNTY

    Deputies ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3 repeatedly

    placed their guns to the heads of both handcuffed men and threatened to kill them.




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51.JENKINS and PARKER never committed any act of resistance to justify Defendant's

    pointing guns at their heads, assaulting them, and threatening to kill them.

52.At all times relevant, these acts of assaults, pointing guns at their head and threatening to kill

    JENKINS and PARKER, occurred while deputies were under the supervision of SHERIFF

    BRYAN BAILEY and RANKIN COUNTY. During these acts, deputies used vicious racial

    slurs such as "nigger" and "monkey" against JENKINS and PARKER.

                                Attempt to Kill Michael Corey Jenkins:

53.At the crescendo of this nearly two-hour torture session, on January 24, 2023, at around 11:40

    p.m., Plaintiffs allege that RANKIN COUNTY deputy Hunter Elward shoved his service

    weapon inside Michael Jenkins's mouth while he was handcuffed.

54.Rankin deputy HUNTER ELWARD spoke angrily to MICHAEL JENKINS, and then

    ELWARD shot JENKINS inside his mouth.

55.ELWARD, under the color of law, intentionally shot handcuffed MICHAEL COREY

    JENKINS in the mouth, almost killing him.

56.RANKIN COUNTY Deputies MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3

    conspired, aided, and abetted ELWARD in shooting MICHAEL JENKINS inside his mouth.

57.ELWARD’s gunshot inside JENKINS mouth shattered JENKINS’ jaw and severely

    lacerated his tongue. Several of Michael's arteries were severely damaged, and he almost

    died.

58.ELWARD fired his shot with malice aforethought, and he intended to kill MICHAEL

    COREY JENKINS.

59.At no point in this occurrence did JENKINS commit any act to warrant such cruel, physical,

    and deadly force to be used against him by RANKIN COUNTY, Mississippi deputies.



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60.The attempt to kill JENKINS occurred while Defendant Deputies ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE’S 1-3 were under the supervision of SHERIFF

    BRYAN BAILEY and RANKIN COUNTY. In the course of this act, deputies used vicious

    racial slurs such as "nigger" and "monkey” against JENKINS and PARKER.

61.JENKINS was not armed at any point, and he was completely compliant with, and in fear of

    deputies under the supervision and control of Defendant BRYAN BAILEY and RANKIN

    COUNTY.



                            Failure to Intervene/ Failure to aid JENKINS

62.JENKINS and PARKER, in interviews with agents from the Mississippi Bureau of

    Investigation (M.B.I.), confirmed both victims' accounts that Deputies ELWARD,

    MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3 jointly participated and

    encouraged each other in these outrageous, hateful and violent acts.

63.None of the six deputies intervened [in word or action] to stop any of the aforementioned

    acts in the course of this ordeal, including the shooting of JENKINS.

64. Not a single deputy, at any point, objected or took any affirmative action to stop any of their

    fellow deputies from inflicting the pain and punishment that was inflicted on JENKINS and

    PARKER for nearly two hours.

65.During this violent, twisted, tragic melee, no Rankin deputy chose to withdraw from this

    prolonged, twisted, and sick ordeal. In fact, the contrary is true; each deputy, including

    ELWARD MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-3, consciously,

    knowingly, and willingly participated in the terrible acts described in this Complaint.




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66.Once JENKINS was shot inside the mouth, he was severely injured, left alone to care for and

    treat himself as he stumbled out the door and fell. RANKIN COUNTY deputies ELWARD,

    MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3 would not assist him in any

    way. For twenty or more minutes, each deputy consciously and deliberately disregarded their

    specific duty to render medical attention to JENKINS.

67.JENKINS would receive medical attention only when emergency medical personnel arrived.

    At the University of Mississippi Medical Center, Michael Jenkins finally received adequate

    medical care, which included multiple life-saving surgeries.

68.Unfortunately, JENKINS has suffered permanent physical injuries, permanent cognitive

    damage, long-term psychological damage, permanent disfigurement, and impairment. One

    side of JENKINS face suffers permanent nerve damage and numbness.           PARKER has

    suffered. Eddie Parker suffered injuries from his mistreatment and sought prompt medical

    attention.

69. ON JANUARY 25, 2023, Deputy Hunter ELWARD would file and notarize a false and

    fictitious affidavit of criminal charges against Michael Jenkins, claiming Jenkins had a

    firearm and pointed it in the direction of ELWARD.

70. At no point ever, during the facts stipulated herein, did Michael Corey Jenkins or Eddie

    Terrell Parker ever possess or display any type of weapon.




     Supervisory Liability by BAILEY and MONELL violations by RANKIN COUNTY



71.Sheriff BRYAN BAILEY directly participates in acts of excessive force with the deputies

    he supervises and has been denied qualified immunity by this court. In U.S. District Court



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    Civil Action No. 3:21-CV-124-HTW-LGI 31-year-old Pierre Woods died of multiple

    gunshot wounds. (WLBT) – A federal judge has issued a ruling saying Rankin County

    Sheriff Bryan Bailey is not exempt from a wrongful death lawsuit. Judge Henry Wingate

    stated: "Sheriff BRYAN BAILEY is individually liable because: he was present at the scene;

    he was actively involved in the negotiations; and he played an important role in the use of

    the alleged excessive force which led to Woods’ death.” Based on the record before it, this

    court cannot state that SHERIFF BAILEY’S actions were reasonable under the

    circumstances.”

72.The Court, in Civil Action No. 3:21-CV-124-HTW-LGI further stated Defendant Rankin

    County Deputy HUNTER ELWARD, the officer, allegedly to have been struck by Wood’s

    weapon, states that he discharged his rifle approximately 8 times in Woods’s direction after

    Woods exited the residence. Deputy ELWARD claims that Woods threw his pistol at Deputy

    ELWARD as Woods fell to the ground after taking fire. [Docket no. 47-4 p.5]. This court

    notes, too, that the Video shows is that once Woods was shot, he immediately fell to the

    ground and did not move. The officers continued to shoot for at least seven (7) more seconds

    after Woods hit the ground. Yet, the Affidavits submitted by Rankin County Deputies

    [Dockets. No 75-1 and 75-2] state that all RANKIN COUNTY. Deputies fired only at the

    residence's bedroom window when Woods was inside the residence and that none of them

    shot at Woods as he exited the front door. This testimony does not comport with the Video

    presented, which depicts officers firing their weapons at a face-down Woods for at least 7

    seconds after he exited the front door. This court also notes that SHERIFF BAILEY held the

    authority to order a "ceasefire," which would have immediately stopped the officers'

    shooting. Based on the record before it, this court cannot state that Sherriff Bailey's actions




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    were reasonable under the circumstances. This court finds that the record evidence is

    sufficient to overcome SHERIFF BAILEY'S qualified immunity defense.

73.Despite actual notice of SHERIFF BAILEY'S denial of qualified immunity actions for his

    supervisory actions, and despite HUNTER ELWARD'S denial of qualified immunity by this

    Court for his deadly use of force on Woods, BAILEY, and ELWARD, both remained

    employed and unsanctioned by RANKIN COUNTY. Such continued employment, without

    the sanction of ELWARD and BAILEY by RANKIN COUNTY, constituted a custom of

    tolerance and acceptance of constitutional violations.

74.SHERIFF BAILEY failed to reprimand, monitor, or re-train Deputy MC’ALPIN. Such

    failures and deliberate indifference to MCALPIN’S acts are the proximate cause as to why

    Defendant has repeated such acts against JENKINS and PARKER.

75.At the time of the attack on JENKINs and PARKER on 1/24/2023, Deputy BRETT

    MC'ALPIN has remained an active deputy for Rankin County despite this Court denying his

    qualified immunity for committing the same type of violations that the Plaintiffs allege in

    the instant case. MC'ALPIN'S previously similar conduct was

                              • Breaking into premises without a warrant:

                              • Holding guns to the heads of the person he held in captivity

                              • Using racial slurs in the commission of the use of force

                              • Refusing to identify themselves after committing rogue acts

76.In the United States Court of Appeals for the 5th Circuit, Case No. 17-60287, Appellant

    BRETT MC'ALPIN lost his appeal of the U.S. District Court's order denying him qualified

    immunity in a case involving similar circumstances to the instant case with JENKINS and

    PARKER.



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77. The Complaint Stated: Without warning, notice, or provocation, officers from the City of

    Pearl Police Department and Rankin County Sheriff's Department in a joint venture to

    make a profit, immediately drew their weapons and without authority or provocation, broke

    into the Plaintiffs' home, slammed certain Plaintiffs to the floor, held guns to the temple of

    some Plaintiffs and the backs of other Plaintiffs. Even after the other officers informed

    Officer MC'ALPIN that he was at the wrong house, the officers had to physically pull

    MC'ALPIN off of Brett (Plaintiff). The officers refused to identify themselves and then

    promptly left. Brett suffered injuries solely because of the physical assault by Officer

    MC'ALPIN following the illegal entry by the Rankin County Sheriff's Department and the

    Pearl Police Department into his home. None of the officers ever identified themselves as

    police officers before, during, or even after the illegal entry into the Plaintiffs' home.

78. Despite actual notice of Deputy MC'ALPIN'S denial of qualified immunity for his rogue

    actions, he remained a deputy employed by RANKIN COUNTY and under the supervision

    of SHERIFF BRYAN BAILEY. Such continued employment of MC'ALPIN, without

    sufficient monitoring, re-training, or reprimand, by RANKIN COUNTY created a custom

    of tolerance and acceptance of constitutional violations by RANKIN COUNTY.

79.SHERIFF BAILEY failed to reprimand, monitor, or re-train Deputy MC’ALPIN. Such

    failures and deliberate indifference to MCALPIN’S acts are the proximate cause as to why

    Defendant has repeated such acts against JENKINS and PARKER.

80.On July 26, 2021, Defendant Hunter ELWARD was involved in the subduing of unarmed

    Damien Cameron. Cameron died after being harshly restrained by Rankin Deputies Luke

    Stickman and ELWARD.




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81.In her affidavit dated April 13, 2023, Monica Lee, Cameron’s mother and a witness to the

    occurrence, affirms that Rankin Deputy Luke Stickman, with the assistance of Hunter

    ELWARD, in the manner of Derek Chauvin, who killed George Floyd, choked Cameron to

    death by placing a knee across the back of his neck, long after Cameron was completely

    immobilized. Cameron's last words to ELWARD and Stickman were that he could not

    breathe (Lee v. RANKIN COUNTY Circuit Court for Rankin County, Cause No. 2022-

    073).

82.SHERIFF BAILEY failed to reprimand HUNTER ELWARD for failing to activate his

    body camera; failed to train ELWARD in the use of body cameras, and thereby BAILEY

    created a custom that Rankin Deputies were permitted to turn off body-worn cameras to

    cover up their misdeeds.

83.BAILEY'S failure to supervise and reprimand his v Rankin County Deputies in the Lee

    case and other cases cited herein amounted to ratification of their action. Such deliberate

    indifference to how customs created under his command were the proximate cause of

    JENKINS and PARKER'S constitutional rights being violated on January 24, 2023.

84.In the instant raid against JENKINS and PARKER, Defendant deputies intentionally turned

    off their body cameras to escape video recording of the incident. Body camera logs reveal

    that Rankin Deputy Napoleon Valino last activated his camera at 9:41 p.m., two hours

    before another deputy shot Michael Corey Jenkins in the mouth. The next recording took

    place at 1:25 a.m., with Deputy Hunter Lewis activating his camera for nearly 20 minutes.

85.Despite actual and constructive notice of the above facts, Defendant RANKIN COUNTY

    failed to create new policies to correct such deficiencies; failed to create a police review

    board; failed to make the use of body-worn cameras, and failed to take any meaningful




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    action to stop the abuse of citizens taking place by the Sheriff’s Department under

    RANKIN COUNTY’s authority.

86.RANKIN COUNTY, under its budgetary authority, continued to finance SHERIFF

    BAILEY without implementing any policy reforms or controls. All the failures of

    Defendant RANKIN COUNTY created an environment where both SHERIFF BAILEY

    and ELWARD, MC'ALPIN, DEADMAN, and JOHN DOE'S 1-3 operated with impunity,

    which is the proximate cause of the atrocities committed upon JENKINS and PARKER in

    this case.

87.Attached to this Complaint are Exhibits 1-10, which give greater clarity and support to all

    allegations contained herein.


                                              COUNT I

         DEPRIVATION OF CIVIL RIGHTS, 42 U.S.C. § 1983-EXCESSIVE FORCE

           ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3
                     (Attempting to kill Michael C. Jenkins)

88.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

89.Plaintiffs further allege that the defendants' HUNTER ELWARD, along with

    MC’ALPIN, DEDMON and DEPUTY JOHN DOE’S 1-3, with deliberate indifference

    to, and in reckless disregard for the safety and well-being of MICHAEL COREY

    JENKINS and in violation of the 4th Amendment to the Constitution, did on January 24,

    2023, commit acts which deprived Plaintiff MICHAEL JENKINS of his constitutional

    right to be free from excessive force.

90.Plaintiffs allege Defendant DEPUTY ELWARD, under the color of law, without

    justification of cause, did place his service weapon inside JENKINS’ mouth while he




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    was handcuffed. Did intentionally shoot MICHAEL JENKINS in his mouth, shattering

    his jaw, nearly mortally wounding him.

91.Plaintiffs allege ELWARD MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-

    3 all conspired, aided or abetted, to attempt to kill MICHAEL JENKINS by way of

    deadly excessive force.

92.Clearly, no force was warranted against Plaintiff’s person under these circumstances as

    JENKINS posed no threat to ELWARD, MC’ALPIN, DEDMON and DEPUTIES

    JOHN DOE'S 1-3, or any RANKIN COUNTY Deputy on 1/24/2023.

93.As a direct and proximate result of the actions of Defendants ELWARD

    MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-3, Plaintiff was deprived

    of his liberty and almost killed by DEPUTY ELWARD, acting well outside the

    parameters of law and decency.

94.As a result of the excessive use of force by Defendants, JENKINS has suffered

    permanent physical injuries, permanent cognitive damage, long-term psychological

    damage, permanent disfigurement, and impairment. One side of JENKINS face

    suffers permanent nerve damage and numbness. Eddie Parker suffered injuries from

    his mistreatment, sought prompt medical attention, and also suffered long-term

    psychological damage from the trauma of the ordeal.

                                         Punitive Damages

95.All Defendants acted with actual malice towards MICHAEL C. JENKINS and EDDIE

    PARKER and intended to cause injury to Plaintiffs with their despicable, violent conduct.

96.Prior to JENKINS being shot inside the mouth, Defendants ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE'S 1-3 consciously and deliberately illegally seized




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    MICHAEL JENKINS and EDDIE PARKER without cause for nearly two hours. Defendants

    possessed a willful and conscious disregard for the right of Plaintiff's JENKINS and the

    public at-large to be free from the use of dangerous, excessive force.

97.Furthermore, ELWARD MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3, in

    their repeated use of racial slurs in the course of their violent acts, were oppressive and

    hateful against their African- American victims. Defendants were motivated on the basis of

    race and the color of the skin of the persons they assaulted. Such despicable conduct by these

    six White deputies subjected JENKINS amounts to cruel and unjust hardship in conscious

    disregard of not only Plaintiff's rights but exhibited a reckless disregard for Plaintiff’s, as

    well as the public at-large’s constitutional rights of equal protection under the law as afforded

    by the 14th Amendment.

98.Punitive damages are required to punish all Defendants and to deter similar misconduct in

    the future by all Defendants, lest such egregious human rights violations repeat themselves.

    WHEREFORE, Plaintiff MICHAEL JENKINS demands judgment against Defendants, in

    the full and fair amount of Four Hundred Million Dollars ($400,000,000), in compensatory

    damages and punitive damages plus interest and costs.



                                              COUNT II

                     DEPRIVATION OF CIVIL RIGHTS, 42 U.S.C. § 1983

    ELWARD, ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-3
                     (Unconstitutional Search and Seizure)


99.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.




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100.Plaintiff further alleges that the defendant deputies ELWARD MC’ALPIN, DEDMON,

    and DEPUTIES JOHN DOE’S 1-3, under the color of law, with deliberate indifference to

    and in reckless disregard for the safety and well-being of the Plaintiffs and in violation of the

    4th Amendment to the Constitution, did on January 24, 2023, commit many acts which

    deprived Plaintiffs MICHAEL JENKINS and EDDIE T. PARKER of their constitutional

    rights to be free from unreasonable seizure of their persons.

101.Plaintiffs allege Defendant's ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3,

    without reasonable suspicion or probable cause, forcibly entered the address in Braxton,

    Mississippi, where Plaintiff’s PARKER was living, AND JENKINS was visiting. Both men

    were not outside, and they were resting in separate rooms.

102. ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3 did not possess a search

    warrant. No circumstances for warrantless entry into the premises existed.

103. JENKINS and PARKER were immediately subdued and handcuffed by Defendants

    ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3.

104.All Defendant deputies wrongfully entered the premises, wrongfully seized, and falsely

    imprisoned Plaintiffs when clearly no seizure was warranted and no force warranted against

    their persons.

105.As a direct and proximate result of the actions of the Defendant officer, Plaintiff was

    deprived of his liberty and injured by Defendant RANKIN COUNTY deputies, acting far

    outside the parameters of law and decency.

106.As a result of this violation of the 4th Amendment violation by ELWARD MC’ALPIN,

    DEDMON and JOHN DOE'S 1-3.

107.As a result of the excessive use of force by Defendants, JENKINS has suffered




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    permanent physical injuries, permanent cognitive damage, long-term psychological

    damage, permanent disfigurement, and impairment. One side of JENKINS face

    suffers permanent nerve damage and numbness. Eddie Parker suffered injuries from

    his mistreatment, sought prompt medical attention, and also suffered long-term

    psychological damage from the trauma of the ordeal.



                                          Punitive Damages

108.All Defendants acted with actual malice towards MICHAEL C. JENKINS and EDDIE

    PARKER and intended to cause injury to Plaintiffs with their despicable, violent conduct.

109.Defendants ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-3

    consciously and deliberately seized MICHAEL JENKINS and EDDIE PARKER for nearly

    two hours, and they possessed a willful and conscious disregard for the rights and the right

    of Plaintiffs JENKINS, PARKER, and the public at-large to be free from the use of

    unconstitutional searches, seizures, and excessive force.

110.Furthermore, ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3, in

    their repeated use of racial slurs while breaking the laws of the 4th Amendment, were

    oppressive and hateful against their African- American victims. Defendants were motivated

    upon the basis of race and the color of the skin of the persons they wrongfully seized and

    used force upon. Such despicable conduct by these six White deputies subjected JENKINS

    and PARKER amounts to cruel and unjust hardship in conscious disregard of not only

    Plaintiff's rights but exhibited a reckless disregard for Plaintiff's, as well as the public at-

    large's 4th Amendment rights and their constitutional rights of equal protection under the law

    as afforded by the 14th Amendment.




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111.Punitive damages are required to punish these Defendants, ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE'S 1-3 in order to deter similar misconduct in the

    future by all Defendants, lest such egregious human rights violations repeat themselves.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendants, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages and punitive damages plus interest and costs.




                                             COUNT III

                       DEPRIVATION OF CIVIL RIGHTS, 42 U.S.C. § 1983

                  ELWARD MC’ALPIN, DEDMON, AND JOHN DOE'S 1-3
                            (Excessive Force- Taser Use)

112.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

113.Plaintiff further alleges that Defendant's ELWARD MC’ALPIN, DEDMON and

    DEPUTIES JOHN DOE’S 1-3, under the color of law, with deliberate indifference to, and

    in reckless disregard for the safety and well-being of the Plaintiffs and in violation of their

    constitutional rights, did on January 24, 2023, commit many acts which deprived Plaintiffs

    MICHAEL C. JENKINS and EDDIE PARKER of their constitutional rights to be free from

    excessive force.

114.Plaintiffs allege Defendants ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3

    deployed their taser devices and used them repeatedly and gratuitously against both

    JENKINS and PARKER while they were subdued and handcuffed.




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115.ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3 did not have justification or

    cause for using force by way of tasering JENKINS and PARKER while they were

    defenseless, incapable of harm, and handcuffed.

116.At no point did JENKINS or PARKER give any justification or cause for the use of force

    by Defendants. Clearly, no force at all was warranted against their person under the

    circumstances.

117.As a direct and proximate result of the actions of the Defendants, Plaintiffs were deprived

    of their constitutional right to be free from the use of force, by way of tasering, by the

    Defendant RANKIN COUNTY Defendants, acting far outside the parameters of law and

    decency.

118.As a result of the excessive use of force by Defendants, JENKINS has suffered

    permanent physical injuries, permanent cognitive damage, long-term psychological

    damage, permanent disfigurement, and impairment. One side of JENKINS face

    suffers permanent nerve damage and numbness. Eddie Parker suffered injuries from

    his mistreatment, sought prompt medical attention, and has also suffered long-term

    psychological damage from the trauma of the ordeal.



                                      Punitive Damages

119.All Defendants acted with actual malice towards MICHAEL C. JENKINS and EDDIE

    PARKER and intended to cause injury to Plaintiffs with their despicable, violent conduct.

120.Defendant’s ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3 consciously and

    deliberately assaulted MICHAEL JENKINS and EDDIE PARKER for nearly two hours, and

    they possessed a willful and conscious disregard for the rights and the right of Plaintiff's




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    JENKINS, PARKER, and the public at-large to be free from the use of dangerous, excessive

    force.

121.Furthermore, ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3, in

    their repeated use of racial slurs in the course of their use of excessive force, were oppressive

    and hateful against their African- American victims. Defendants were motivated upon the

    basis of race and the color of the skin of the persons they wrongfully seized and used force

    upon. Such despicable conduct by these six White deputies subjected JENKINS and

    PARKER amounts to cruel and unjust hardship in conscious disregard of not only Plaintiff's

    rights but exhibited a reckless disregard for Plaintiff's, as well as the public at-larges’ right

    to be free from the unconstitutional use of force, and violations of their constitutional rights

    to equal protection under the 14th Amendment.

122.Punitive damages are required to punish these Defendants, ELWARD MC’ALPIN,

    DEDMON and DEPUTIES JOHN DOE'S 1-3. in order to deter similar misconduct in the

    future by all Defendants, lest such egregious human rights violations repeat themselves.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendant, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages and punitive damages plus interest and costs.


                                           COUNT IV

                         Deprivation of Civil Rights, 42 U.S.C. § 1983

                 ELWARD MC’ALPIN, DEDMON AND JOHN DOE'S 1-3
                        (Excessive Force- Physical Assaults)

123.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.




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124.Plaintiff further alleges that Defendants ELWARD, MC’ALPIN, DEDMON and

    DEPUTIES JOHN DOE'S 1-3, under the color of law, with deliberate indifference to, and in

    reckless disregard for the safety and well-being of the Plaintiffs and in violation of their

    constitutional rights, did on January 24, 2023, commit specific acts which deprived Plaintiffs

    MICHAEL C. JENKINS and EDDIE T. PARKER of their constitutional rights to be free

    from excessive force.

125.Plaintiffs allege Defendants ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3

    repeatedly punched, kicked and beat, and otherwise gratuitously used unwarranted force

    against both JENKINS and PARKER while they were subdued, handcuffed, and not

    resisting.

126.Plaintiffs allege Defendants ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1- 3

    repeatedly hurled eggs at JENKINS and PARKER, striking and humiliating them.

    Defendants used this type of unwarranted force against both JENKINS and PARKER while

    they were subdued, handcuffed, and not resisting.

127.ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3 did not have justification or

    cause for using force by way of kicking, punching, beating, hurling eggs at, and knocking to

    the floor JENKINS and PARKER, who were handcuffed, defenseless, and incapable of harm.

128.At no point did JENKINS or PARKER give any justification or cause for such use of violent

    force by Defendants. Clearly, no force was warranted against their person under the

    circumstances.

129.As a direct and proximate result of the actions of the Defendants, Plaintiffs were deprived

    of their constitutional right to be free from the use of force by way of being repeatedly




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    punched, kicked, and beaten, and being pelted with eggs at both JENKINS and PARKER by

    RANKIN COUNTY Defendants, acting far outside the parameters of law and decency.

130.As a result of the excessive use of force by Defendants, JENKINS has suffered

    permanent physical injuries, permanent cognitive damage, long-term psychological

    damage, permanent disfigurement, and impairment. One side of JENKINS face

    suffers permanent nerve damage and numbness. Eddie Parker suffered injuries from

    his mistreatment, sought prompt medical attention, and has also suffered long-term

    psychological damage from the trauma of the ordeal.

                                            Punitive Damages

131.All Defendants acted with actual malice towards MICHAEL C. JENKINS and EDDIE

    PARKER and intended to cause injury to Plaintiffs with their despicable, violent conduct.

132.Defendant’s ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3 consciously and

    deliberately assaulted MICHAEL JENKINS and EDDIE PARKER for nearly two hours, and

    they possessed a willful and conscious disregard for the rights and the right of Plaintiff's

    JENKINS, PARKER, and the public at-large to be free from the use of dangerous, excessive

    force.

133.Furthermore, ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3, in

    their repeated use of racial slurs in the course of their beating, punching, kicking, and hurling

    eggs at Plaintiff, were oppressive and hateful against their African- American victims.

    Defendants were motivated upon the basis of race and the color of the skin of the persons

    they attacked and used force upon. Such despicable conduct by these six White deputies

    subjected JENKINS and PARKER amounts to cruel and unjust hardship in conscious

    disregard of not only Plaintiff's rights but exhibited a reckless disregard for Plaintiff's, as well




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    as the public at-larges’ right to be free from the unconstitutional use of force, and violations

    of their constitutional rights to equal protection under the 14th Amendment.

134.Punitive damages are required to punish these Defendants, ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE'S 1-3 in order to deter similar misconduct in the

    future by all Defendants, lest such egregious human rights violations repeat themselves.



    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendant, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages and punitive damages plus interest and costs.


                                              COUNT V

                           Deprivation of Civil Rights, 42 U.S.C. § 1983

                     ELWARD MC’ALPIN, DEDMON AND JOHN DOE’S 1-3
                     (Unreasonable Seizure, Excessive force -Waterboarding)

135.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

136.Plaintiff further alleges that the Defendants ELWARD MC’ALPIN, DEDMON and JOHN

    DOE'S 1-3, under the color of law, with deliberate indifference to, and in reckless disregard

    for the safety and well-being of the Plaintiffs and in violation of their constitutional rights,

    did on January 24, 2023, commit specific acts which deprived Plaintiffs MICHAEL C.

    JENKINS and EDDIE T. PARKER of their constitutional rights to be free from excessive

    force and unreasonable seizure.

137.Plaintiffs allege Defendants ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN

    DOE’S 1-3 used waterboarding techniques against both JENKINS and PARKER while they




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    were handcuffed, bound, and on their back. These acts amounted to a form of torturing their

    captives.

138.ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3 did not have

    justification or cause for using force in the form of the use of waterboarding techniques

    against JENKINS and PARKER under any circumstances.

139.At no point did JENKINS or PARKER give any justification or cause for such use of

    waterboarding techniques by Defendants because there is never a justification for the use of

    illegal waterboarding techniques by law enforcement.

140.As a direct and proximate result of the actions of the Defendants, Plaintiffs were deprived

    of their constitutional right to be free from excessive force and unreasonable seizure by way

    of waterboarding tactics against both JENKINS and PARKER by RANKIN COUNTY

    Defendants, acting far outside the parameters of law and decency.

141.As a result of the excessive use of force by Defendants, JENKINS has suffered

    permanent physical injuries, permanent cognitive damage, long-term psychological

    damage, permanent disfigurement, and impairment. One side of JENKINS face

    suffers permanent nerve damage and numbness. Eddie Parker suffered injuries from

    his mistreatment, sought prompt medical attention, and also suffered long-term

    psychological damage from the trauma of the ordeal.



                                         Punitive Damages

142.All Defendants acted with actual malice towards MICHAEL C. JENKINS and EDDIE

    PARKER and intended to cause injury to Plaintiffs with their despicable, outrageous,

    torturous conduct.




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143.Defendants ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-3

    consciously and deliberately assaulted MICHAEL JENKINS and EDDIE PARKER for

    nearly two hours, and they possessed a willful and conscious disregard for the rights and the

    right of Plaintiffs JENKINS, PARKER, and the public at-large to be free from the use of

    excessive force and torture in the form of waterboarding.

144.Furthermore, ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3, in

    their repeated use of racial slurs in the course of their use of excessive force, were oppressive

    and hateful against their African- American victims. Defendants were motivated upon the

    basis of race and the color of the skin of the persons they wrongfully seized and used force

    upon. Such despicable conduct by these six White deputies subjected JENKINS and

    PARKER amounts to cruel and unjust hardship in conscious disregard of not only Plaintiff's

    rights but exhibited a reckless disregard for Plaintiff's, as well as the public at-larges' right to

    be free from the unconstitutional use of force, and violations of their constitutional rights to

    equal protection under the 14th Amendment.

145.Punitive damages are required to punish these Defendants, ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE'S 1-3 in order to deter similar misconduct in the

    future by all Defendants, lest such egregious human rights violations repeat themselves.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendant, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages and punitive damages plus interest and costs.


                                               COUNT VI

                            Deprivation of Civil Rights, 42 U.S.C. § 1983

                   ELWARD MC’ALPIN, DEDMON AND JOHN DOE’S 1-3



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                     (Sexual assault, Excessive force, Unreasonable seizure)

146.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

147.Plaintiff further alleges that the Defendants ELWARD MC’ALPIN, DEDMON and

    DEPUTIES JOHN DOE'S 1-3, under the color of law, with deliberate indifference to, and in

    reckless disregard for the safety and well-being of the Plaintiffs and in violation of their

    constitutional rights, did on January 24, 2023, commit specific acts which deprived Plaintiffs

    MICHAEL C. JENKINS and EDDIE T. PARKER of their constitutional rights to be free

    from excessive force

148.Plaintiffs allege Defendants ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN

    DOE’S 1-3, or a combination thereof, attempted to use a sexual device, a dildo, against both

    JENKINS and PARKER in their mouths, and towards Jenkins’ anal cavity while they were

    handcuffed and bound.

149.Furthermore, the Plaintiffs allege Defendants ELWARD MC’ALPIN, DEDMON and

    JOHN DOE'S 1-3 forced both JENKINS and PARKER to strip naked and take a shower

    together.   Allegedly, JENKINS and PARKER were forced to strip naked and shower

    together in order to clean up the mess that was made by the deputies hurling eggs at them,

    the mess from the liquids poured in their mouths and on their faces used in the course of their

    waterboarding, and the deification of the victims whom they attempted to assault sexually.

150.In committing both acts of attempting to assault the Plaintiffs with a sexual device (dildo)

    sexually and then forcing both African-American men to strip naked and shower together,

    Defendants committed a form of torture against the Plaintiffs.

151.ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE’S 1-3, or a combination

    thereof, did not have justification or cause for attempting to use a sexual device, a dildo,




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    against both JENKINS and PARKER while they were handcuffed, bound and surrounded by

    Defendants. No such justification exists for such shocking and outrageous acts under any

    circumstances.

152.ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE’S 1-3, or a combination

    thereof, did not have justification or cause for forcing both JENKINS and PARKER to strip

    naked and to take a shower together. Because there is never, under any circumstances, lawful

    justification for the above-described sexual assaults and sex acts committed against

    JENKINS and PARKER

153.As a direct and proximate result of the actions of the Defendants, Plaintiffs were deprived

    of their constitutional rights to be free from excessive force and unreasonable seizure, by

    way of sick and perverted sexual assaults and sex acts, against both JENKINS and PARKER

    by RANKIN COUNTY Defendants, acting far, far outside the parameters of law and

    decency.

154.As a result of the acts by Defendants, JENKINS has suffered permanent physical

    injuries, permanent cognitive damage, long-term psychological damage, permanent

    disfigurement, and impairment. One side of JENKINS face suffers permanent nerve

    damage and numbness. Eddie Parker suffered injuries from his mistreatment, sought

    prompt medical attention, and also suffered long-term psychological damage from

    the trauma of the ordeal.

                                         Punitive Damages

155.All Defendants acted with actual malice towards MICHAEL C. JENKINS and EDDIE

    PARKER and intended to cause injury to Plaintiffs with their despicable, twisted, and sick

    conduct.




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156.Defendant’s ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3 consciously and

    deliberately sexually assaulted MICHAEL JENKINS and EDDIE PARKER in the course of

    torturing them for nearly two hours, and they possessed a willful and conscious disregard for

    the rights and the right of Plaintiff's JENKINS, PARKER and the public at-large to be free

    from the use of dangerous, excessive force. Defendants humiliated Plaintiffs by forcing them

    to strip naked and shower together.

157.Furthermore, ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3,

    in their repeated use of racial slurs, in the course of their sexual assaults, use of sexual

    devices on Plaintiffs, and forcing their captives to strip naked and shower together, were

    oppressive and hateful against their African- American victims. Defendants were motivated

    on the basis of race and the color of the skin of the persons they sexually assaulted and

    humiliated. Such despicable conduct by these six White deputies subjected JENKINS and

    PARKER to cruel and unjust hardship and a conscious disregard of not only Plaintiff's rights

    but exhibited a reckless disregard for Plaintiff's, as well as the public at-larges’ right to be

    free from the unconstitutional use of excessive force and unreasonable seizure, and violations

    of their constitutional rights to equal protection under the 14th Amendment.

158.Punitive damages are required to punish these Defendants, ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE'S 1-3 in order to deter similar misconduct in the

    future by all Defendants, lest such egregious human rights violations repeat themselves.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendant, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages and punitive damages plus interest and costs.




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                                             COUNT VI

                     DEPRIVATION OF CIVIL RIGHTS, 42 U.S.C. § 1983

             ELWARD, MC’ALPIN, DEDMON, AND DEPUTIES JOHN DOE'S 1-3
                         (Excessive Force- Threats To Kill )


159.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

160.Plaintiff further alleges that Defendants ELWARD, MC’ALPIN, DEDMON and JOHN

    DOE'S 1-3, under the color of law, with deliberate indifference to, and in reckless disregard

    for the safety and well-being of the Plaintiffs and in violation of their constitutional rights,

    did on January 24, 2023, commit specific acts which deprived Plaintiffs MICHAEL C.

    JENKINS and EDDIE T. PARKER of their constitutional rights to be free from excessive

    force.

161.Plaintiffs allege Defendants ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN

    DOE’S 1-3, or a combination thereof, repeatedly pointed their guns to their heads and in the

    faces and threatened to kill both JENKINS and PARKER. Defendants assaulted both

    JENKINS and PARKER with their service weapons while Plaintiffs were subdued and

    handcuffed and not resisting.

162.ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3 did not have

    justification or cause for using force by way of repeatedly pointing guns in the face of

    JENKINS and PARKER and threatening to kill them.

163.At no point did JENKINS or PARKER give any justification or cause for such use of violent

    force by Defendants. Clearly, no force was warranted against their person under the

    circumstances.




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164.As a direct and proximate result of the actions of the Defendants, the Plaintiffs were

    deprived of their constitutional right to be free from the use of excessive force, acting far

    outside the parameters of law and decency.

165.As a result of the acts by Defendants, JENKINS has suffered permanent physical

    injuries, permanent cognitive damage, long-term psychological damage, permanent

    disfigurement, and impairment. One side of JENKINS face suffers permanent nerve

    damage and numbness. Eddie Parker suffered injuries from his mistreatment, sought

    prompt medical attention, and has also suffered long-term psychological damage

    from the trauma of the ordeal.



                                          Punitive Damages

166.All Defendants acted with actual malice towards MICHAEL C. JENKINS and EDDIE

    PARKER and intended to cause injury to Plaintiffs with their despicable, violent conduct.

167.Defendant’s ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3 consciously and

    deliberately assaulted MICHAEL JENKINS and EDDIE PARKER for nearly two hours, and

    they possessed a willful and conscious disregard for the rights of Plaintiffs JENKINS,

    PARKER, and the public at-large to be free from the use of dangerous, excessive force.

168.Furthermore, ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3, in

    their repeated use of racial slurs during their use of excessive force, were oppressive and

    hateful against their African- American victims. Defendants were motivated upon the basis

    of race and the color of the skin of the persons they wrongfully seized and used force upon.

    Such despicable conduct by these six White deputies subjected JENKINS and PARKER

    amounts to cruel and unjust hardship in conscious disregard of not only Plaintiff's rights but




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    exhibited a reckless disregard for Plaintiff's, as well as the public at-larges’ right to be free

    from the unconstitutional use of force, and violations of their constitutional rights to equal

    protection under the 14th Amendment.

169.Punitive damages are required to punish these Defendants, ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE'S 1-3 in order to deter similar misconduct in the

    future by all Defendants, lest such egregious human rights violations repeat themselves.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendant, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages and punitive damages plus interest and costs.


                                             COUNT VII

                     DEPRIVATION OF CIVIL RIGHTS, 42 U.S.C. § 1981

            ELWARD, MC’ALPIN, DEDMON, AND DEPUTIES JOHN DOE'S 1-3
                (14th Amendment Equal Protection Violation on the Basis of Race)

170.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

171.Plaintiff further alleges that Defendants ELWARD MC’ALPIN, DEDMON and

    DEPUTIES JOHN DOE’S 1-3, under the color of law, with deliberate indifference to, and

    in reckless disregard for the safety and well-being of the Plaintiffs and in violation of their

    constitutional rights, did on January 24, 2023, commit specific acts which deprived Plaintiffs

    MICHAEL C. JENKINS and EDDIE T. PARKER of their constitutional rights to be free

    from deprivation of their rights of equal protection guaranteed under the 14th Amendment.

172.Defendants deprived both JENKINS and PARKER of their 14th Amendment Rights to be

    free from police harassment and misconduct on the basis of race.

173.The Equal Protection Clause of the U.S. Constitution directs that persons similarly situated




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    should be treated alike. The elimination of racial discrimination remains at the heart of the

    Fourteenth Amendment. The Constitution does not tolerate intentional police harassment of

    racial minorities.

174.Plaintiffs allege that Defendants ELWARD, MC’ALPIN, DEDMON, and DEPUTIES

    JOHN DOE'S 1-3 repeatedly used racial epithets, i.e., calling JENKINS and PARKER

    "niggers' and "monkeys' and questioning them about "dating White women," and coupled

    their use of their offensive words with physical harassment and numerous of acts of violence

    described in this Complaint.

175.Such words, coupled with the violent actions of RANKIN COUNTY deputies, deprived

    Plaintiffs of equal protection of the laws guaranteed under the United States Constitution.

176.As a direct and proximate result of the actions of the Defendants, Plaintiffs JENKINS and

    PARKER were deprived of their constitutional rights of equal protection and to be free from

    racially motivated violence at the hands of law enforcement,         acting far outside the

    parameters of law and decency.

177.As a result of the acts by Defendants, JENKINS has suffered permanent physical

    injuries, permanent cognitive damage, long-term psychological damage, permanent

    disfigurement, and impairment. One side of JENKINS face suffers permanent nerve

    damage and numbness. Eddie Parker suffered injuries from his mistreatment, sought

    prompt medical attention, and also suffered long-term psychological damage from

    the trauma of the ordeal.

                                       Punitive Damages

178.All Defendants acted with actual malice towards MICHAEL C. JENKINS and EDDIE

    PARKER and intended to cause injury to Plaintiffs with their despicable, violent conduct.



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179.Defendant’s ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3 consciously and

    deliberately assaulted MICHAEL JENKINS and EDDIE PARKER for nearly two hours, and

    they possessed a willful and conscious disregard for the rights and the right of Plaintiff's

    JENKINS, PARKER, and the public at-large to be free from violations of the equal

    protection clause of the United States Constitution.

180.Furthermore, ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3, in

    their repeated use of racial slurs in the course of their use of excessive force, were oppressive

    and hateful against their African- American victims. Defendants were motivated upon the

    basis of race and the color of the skin of the persons they wrongfully seized and used force

    upon. Such despicable conduct by these six White deputies subjected JENKINS and

    PARKER amounts to cruel and unjust hardship in conscious disregard of not only Plaintiff's

    rights but exhibited a reckless disregard for Plaintiff's, as well as the public at-larges right to

    be free from violations of their constitutional rights to equal protection under the 14th

    Amendment.

181.Punitive damages are required to punish these Defendants, ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE'S 1-3 in order to deter similar misconduct in the

    future by all Defendants, lest such egregious human rights violations repeat themselves.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendant, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages and punitive damages plus interest and costs.


                                             COUNT VIII

                      DEPRIVATION OF CIVIL RIGHTS, 42 U.S.C. § 1983

         ELWARD, MC’ALPIN, DEDMON, AND DEPUTIES JOHN DOE'S 1-3



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                                      (Failure to Intervene)


182.Defendant Deputies consciously deprived JENKINS and PARKER of their constitutional

    rights;

183.Each law enforcement officer, ELWARD MC’ALPIN, DEDMON AND DEPUTIES

    JOHN DOE'S 1-3 had a realistic opportunity to intervene and prevent the harm, (2) the

    officers knew the victim's constitutional rights were being violated, and (3) the officers did

    not take reasonable steps to intervene.

184.At all times relevant herein, when any one of Defendant Deputies was not actively

    participating in any specific tort described in this Complaint, the Deputy was, in-fact, failing

    to take action to prevent another Rankin County deputy from violating the law.

185.Therefore, ELWARD, MC’ALPIN, DEDMON, AND DEPUTIES JOHN DOE'S 1-3 are

    criminally responsible for all the acts described herein, including the attempt to kill Michael

    Jenkins.

186.Defendants' actions are pursuant to a purposeful ongoing, concerted policy, practice, or

    custom undertaken with the intent to violate the Plaintiffs' constitutional rights.

187.As a direct and proximate result of the actions or omissions of the Defendants, the Plaintiffs

    were deprived of their constitutional right to be free from the use of excessive force,

    violations of their 4th Amendment Rights and human rights, and acting far outside the

    parameters of law and decency.

188.As a result of the acts by Defendants, JENKINS has suffered permanent physical

    injuries, permanent cognitive damage, long-term psychological damage, permanent

    disfigurement, and impairment. One side of JENKINS face suffers permanent nerve

    damage and numbness. Eddie Parker suffered injuries from his mistreatment, sought



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    prompt medical attention, and has also suffered long-term psychological damage

    from the trauma of the ordeal.

                                      Punitive Damages

189.All Defendants acted with actual malice towards MICHAEL C. JENKINS and

    EDDIE PARKER when they failed to intervene to prohibit fellow deputies'

    misconduct.

190.When Defendant’s ELWARD MC’ALPIN, DEDMON and JOHN DOE'S 1-3

    consciously and deliberately failed to stop or even withdraw from the attacks on

    MICHAEL JENKINS and EDDIE PARKER for nearly two hours, and they

    possessed a willful and conscious disregard for the rights of Plaintiffs JENKINS,

    PARKER, and the public at-large to be free from the use of dangerous, excessive

    force.

191.Furthermore, ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S

    1-3 used racial slurs while failing to intervene to stop the violations against their

    African- American victims. The Defendants' failure to intervene was motivated upon

    the basis of race and the color of the skin of the persons they failed to assist.

192.Such despicable conduct by these six White deputies subjected JENKINS and PARKER

    amounts to cruel and unjust hardship in conscious disregard of not only Plaintiff's rights but

    exhibited a reckless disregard for Plaintiff's, as well as the public at-larges’ right to be free

    from the unconstitutional acts and failure and deputies have offended the public’s

    constitutional rights to equal protection under the 14th Amendment.




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193.Punitive damages are required to punish these Defendants, ELWARD, MC’ALPIN,

    DEDMON, and DEPUTIES JOHN DOE'S 1-3 in order to deter similar misconduct in the

    future by all Defendants, lest such egregious human rights violations repeat themselves.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendant, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages and punitive damages plus interest and costs.


                                        COUNT IX

     42 U.S.C. § 1983- FAILURE TO TRAIN, SUPERVISE, AND DISCIPLINE

                                   SHERIFF BRYAN BAILEY


194.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

195.Defendant SHERIFF BRYAN BAILEY acted negligently, carelessly, recklessly, and with

    deliberate indifference to the safety and constitutional rights of the Plaintiffs and the citizens

    of the State of Mississippi by failing to properly train, supervise, control, direct, monitor, and

    discipline its officers in their duties and responsibilities.

196.Citizen complaints, lawsuits, public news, and public records verify that SHERIFF

    BAILEY is specifically aware that its deputies have committed and are likely to commit

    constitutional violations of the type that Plaintiff suffered described herein in this lawsuit.

197.As a direct and proximate result of the acts and omissions and deliberate indifference of

    defendants SHERIFF BAILEY, Plaintiffs MICHAEL JENKINS, and EDDIE PARKER were

    wrongfully imprisoned, unlawfully seized, assaulted, sexually assaulted, waterboarded,

    otherwise tortured, and had their constitutional rights violated by RANKIN COUNTY

    deputies who also attempted to kill JENKINS by shooting Plaintiff inside of his mouth.




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198.Defendant SHERIFF BAILEY had actual and/or constructive knowledge before this

    ordeal that its officer /employees were imprisoning persons without probable cause,

    seizing citizens without justification and using excessive force, and using torture tactics

    while violating the U.S. Constitution.



                                             Ratification

199.SHERIFF BAILEY, in this specific case, failed to discipline and reprimand Defendants

    ELWARD MC'ALPIN. DEDMON and DEPUTIES JOHN DOE'S 1-3, who were under their

    direct supervision and control

200.Rather, SHERIFF BRYAN BAILEY, once again, has failed to act, failed to discipline or

    reprimand ELWARD MC'ALPIN. DEDMON and DEPUTIES JOHN DOE'S 1-3, despite

    public pledges by Sheriff Bailey to hold his officers accountable if there was wrongdoing by

    his deputies found in this ordeal.

201.SHERIFF BAILEY, as in several other adverse incidents, failed to discipline and reprimand

    his deputies in this incident, despite such blatant wrongdoing as the events on January 24,

    2023, which occurred against JENKINS and PARKER

202.Therefore, SHERIFF BRYAN BAILEY has authorized and ratified Defendant Deputies'

    conduct. SHERRIF BAILEY encourages such conduct through his lack of action.

203.As a result of the acts or omission by Defendant, JENKINS has suffered permanent

    physical injuries, permanent cognitive damage, long-term psychological damage,

    permanent disfigurement, and impairment. One side of JENKINS face suffers

    permanent nerve damage and numbness. Eddie Parker suffered injuries from his

    mistreatment, sought prompt medical attention, and also suffered long-term




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    psychological damage from the trauma of the ordeal.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against Defendant, in the full and fair amount of Four Hundred Million Dollars

    ($400,000,000), in compensatory damages plus interest and costs.



                                              COUNT X

                    42 U.S.C. § 1983 – MUNICIPAL LIABILITY FOR
                UNCONSTITUTIONAL CUSTOM, PRACTICE, OR POLICY

                                      RANKIN COUNTY



204.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.
205. Based upon the principles set forth in Monell v. New York City Department of Social

    Services, 436 U.S. 658 (1978), on and for some time prior to January 24, 2023, and

    continuing to the present date, defendant RANKIN CO., acting with reckless and deliberate

    indifference to the rights and liberties of the public in general, and of PLAINTIFF’s

    JENKINS and PARKER, and of persons in their class, situation, and comparable position in

    particular, knowingly maintained, enforced and applied an official recognized custom,

    policy, and practice of:

               • The use of excessive force on African American citizens

               • The use of excessive force on the citizenry at large

               • 4th Amendment violations, unlawful searches, and seizures

               • 14th Amendment equal protection violations

               • Using torture tactics in the course of interrogation.

               • Failing to ensure officers were adequately trained and supervised


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206.By reason of the aforementioned policies and practices by RANKIN CO., Plaintiffs were

    subjected to constitutional violations, beatings, torture, humiliation, excessive force, other

    torts, attempts to kill JENKINS, and other crimes described herein.

207.Defendant RANKIN CO., together with various other officials, whether named or unnamed,

    had either actual or constructive knowledge of the deficient policies, practices, and customs

    alleged in the paragraphs above. Despite having knowledge as stated above, these defendants

    condoned, tolerated, and through actions and inactions, thereby ratified such policies. Said

    Defendants also acted with deliberate indifference to the foreseeable effects and

    consequences of these policies concerning the constitutional rights of JENKINS, PARKER,

    Plaintiff, and other individuals similarly situated

208.As a result of the acts or omissions by Defendant, JENKINS has suffered permanent

    physical injuries, permanent cognitive damage, long-term psychological damage, permanent

    disfigurement, and impairment. One side of JENKINS face suffers permanent nerve damage

    and numbness. Eddie Parker suffered injuries from his mistreatment, sought prompt medical

    attention, andalso suffered long-term psychological damage from the trauma of the ordeal.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against DEFENDANT RANKIN CO., in the full and fair amount of Four Hundred Million

    Dollars ($400,000,000), in compensatory damages plus interest and costs.

                                              COUNT XI

                                     FALSE IMPRISONMENT

            ELWARD, MC’ALPIN, DEDMON, AND DEPUTIES JOHN DOE'S 1-3

209.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

210.ELWARD, MC’ALPIN, DEDMON, AND DEPUTIES JOHN DOE'S 1-3 unlawfully broke



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    into the residence where JENKINS and PARKER resided and unlawfully imprisoned

    JENKINS and PARKER for nearly two hours.

211.Defendants ELWARD MC'ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3, upon

    unlawful entry into the premises, immediately handcuffed JENKINS and PARKER FOR

    nearly two hours, committing false imprisonment upon Plaintiff.

212.The Defendants' actions were not objectively reasonable.

213.As a result of the acts or omissions by Defendants, JENKINS has suffered permanent

    physical injuries, permanent cognitive damage, long-term psychological damage, permanent

    disfigurement, and impairment. One side of JENKINS face suffers permanent nerve damage

    and numbness. Eddie Parker suffered injuries from his mistreatment, sought prompt medical

    attention, and has also suffered long-term psychological damage from the trauma of the

    ordeal.

214.At the time that the above-referenced false imprisonment was committed upon Plaintiff,

    the defendant officer was acting within the scope of their employment for and at the

    direction of Defendant.

215.WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against DEFENDANT'S RANKIN CO., SHERIFF BRYAN BAILEY, in the full and fair

    amount of Four Hundred Million Dollars ($400,000,000), in compensatory damages plus

    interest and costs.

                                          COUNT XII

                                  ASSAULT AND BATTERY

          ELWARD MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE’S 1-3




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216.Plaintiff’s JENKINS and PARKER hereby incorporate Paragraphs 1-87 as if fully set forth

    herein.

217.The defendant deputies, without proper grounds, willfully and maliciously, repeatedly

    assaulted Plaintiffs by:

                   • Beating them, kicking and punching Plaintiffs,
                   • Placing guns to their heads and faces threatening to kill JENKINS and
                      PARKER.
                   • Waterboarding Plainitff’s
                   • Sexually Assaulting Plaintiffs
                   • Shooting Michael Corey Jenkins



218.Defendants ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-3

    intended to cause a harmful or offensive contact with JENKINS and PARKER and

    committed battery upon Plaintiffs through numerous physical attacks and acts described

    herein

219.Each of the injuries suffered by Plaintiff was inflicted without provocation from

    the Plaintiffs, and while they were subdued and handcuffed and not presenting no

    immediate threat to anyone.

220.As a result of the acts by Defendants, JENKINS has suffered permanent physical injuries,

    permanent cognitive damage, long-term psychological damage, permanent disfigurement,

    and impairment. One side of JENKINS face suffers permanent nerve damage and

    numbness. Eddie Parker suffered injuries from his mistreatment, sought prompt medical

    attention, andalso suffered long-term psychological damage from the trauma of the ordeal.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against ELWARD, MC’ALPIN, DEDMON, and DEPUTIES JOHN DOE'S 1-3 in the full




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    and fair amount of Four Hundred Million Dollars ($400,000,000), in compensatory damages

    and punitive damages plus interest and costs.)




                                            COUNT XIII

                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
              ELWARD, MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3


221.Plaintiffs hereby incorporate paragraphs 1-87 as if fully set forth herein.

222.Plaintiffs JENKINS and PARKER allege that Defendants ELWARD MC’ALPIN,

    DEDMON and DEPUTIES JOHN DOE'S 1-3, through extreme and outrageous conduct,

    intentionally and recklessly caused severe emotional distress to MICHAEL JENKINS and

    EDDIE PARKER.

223.Defendants intentionally committed the aforementioned extreme acts described in this

    Complaint against the handcuffed Plaintiffs, including acts of torture, waterboarding sexual

    assault, forcing Plaintiffs to shower naked, sexual assault with sexual devices (dildos),

    pointing guns to Plaintiff's heads and threatening to kill them, kidnapping them nearly two

    hours, pelting them with eggs and attempting to kill MICHAEL JENKINS BY WAY of

    placing a gun inside JENKINS' mouth and attempting to kill him.

224.Defendant ELWARD MC'ALPIN, DEDMON, and DEPUTIES JOHN DOE'S actions, as

    set forth above, were rooted in an abuse of power or authority.

225.Defendant Officers' conduct, as set forth above, was undertaken with the intent to cause or

    with reckless disregard for the high probability that the conduct would cause severe

    emotional distress to JENKINS and PARKER.

226.As a result of the acts or omissions by Defendants, JENKINS has suffered permanent



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    physical injuries, permanent cognitive damage, long-term psychological damage, permanent

    disfigurement, and impairment. One side of JENKINS face suffers permanent nerve damage

    and numbness. Eddie Parker suffered injuries from his mistreatment, sought prompt medical

    attention, andsuffered long-term psychological damage from the trauma of the ordeal.

227.The acts of Defendants ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S

    individually, jointly, and severally were a proximate cause as to the injuries and damages

    sustained by Plaintiffs.

    WHEREFORE, Plaintiffs MICHAEL JENKINS and EDDIE PARKER demand judgment

    against ELWARD MC’ALPIN, DEDMON and DEPUTIES JOHN DOE'S 1-3 in the full and

    fair amount of Four Hundred Million Dollars ($400,000,000), in compensatory damages and

    punitive damages plus interest and costs.)



                                 JURY TRIAL DEMANDED

228.Plaintiff hereby demands a trial by jury pursuant to Federal Rules of Civil Procedure 38(b)

    on all issues so triable.



                                                       Respectfully submitted on 6/12/ 2023 by:

                                                       BLACK LAWYERS FOR JUSTICE
                                                       (B.L.J.)


                                                       _/s/_MALIK SHABAZZ_ESQ /S/_
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